                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                GREENEVILLE DIVISION

 B.P., et al.,
         Plaintiffs,
 v.                                                   No: 2:23-cv-00071-TRM-JEM



 CITY OF JOHNSON CITY, TENNESSEE, et al.,
      Defendants.
      __________________________________/

                       DECLARATION OF VANESSA BAEHR-JONES

 I, VANESSA BAEHR-JONES, declare under penalty of perjury that the foregoing is true and

 correct:

    1. I am over twenty-one years of age and am competent in all respects to give this

        Declaration. This Declaration is given freely and voluntarily. I have personal knowledge

        of the foregoing matter and could, and would, testify competently thereto under penalty

        of perjury under the laws of the United States of America.

    2. I am lead counsel for Plaintiffs B.P., et al., in the above-referenced case. I am a licensed

        attorney in good standing in the State of California (CABN 281715) and admitted to

        appear pro hac vice in this District.

    3. Attached hereto as Exhibit 1 is a set of text messages between Cathy Ball and Karl

        Turner, dated April 6, 2022.

    4. Attached hereto as Exhibit 2, and filed provisionally under seal, is an email from David

        Hilton to Karl Turner and other JCPD personnel, dated September 19, 2020.




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    5. Attached hereto as Exhibit 3 is an email exchange between Cathy Ball and Karl Turner

       dated April 6, 2022.

    6. Counsel for the City used the designation process to insist on Plaintiffs filing Cathy

       Ball’s redacted deposition transcript under seal. Plaintiffs’ counsel disagreed that there

       was any basis to file Ball’s transcript under seal but nevertheless complied with the City’s

       demands and filed the transcript provisionally under seal. Plaintiffs’ counsel even offered

       to set a briefing schedule on the issue of sealing that would be amenable to defense

       counsel.

    7. Afterwards, counsel for the City tipped off Ball about Plaintiffs’ imminent filing of the

       Motion to Compel the real estate contract between Ball and Sean Williams (ECF 235),

       (counsel for the City being the only individuals with knowledge of the forthcoming filing

       who are in contact with Ball), thereby prompting Ball’s press conference and giving her

       an opportunity to spin the story in a way that served her and, by extension, the City.

    8. After Ball’s deposition, the City turned over additional discovery that undermined the

       credibility of Ball and her claim—made again at the press conference—that she did not

       know Williams’ identity during the real estate deal and had not discussed Williams with

       JCPD Chief Karl Turner in April 2022. The newly produced text messages (Exhibit 1)

       show that Ball asked Turner specifically about Williams’ penthouse apartment, Unit 5, on

       April 6, 2022, referring to the unit number and the street.

    9. By the time of this April 2022 text exchange, Turner was well aware of Williams, his

       activities, and the notorious Unit 5 penthouse apartment. In an email dated September 19,

       2020—the date of Female 3’s fall from the window of this penthouse—Turner, and other

       senior JCPD leadership, received a detailed update from JCPD Officer David Hilton




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        about the incident (Exhibit 2). The update included information about Williams’

        apartment, including the address and floor number. This email was also produced to

        Plaintiffs after Ball’s deposition.

    10. Attached hereto as Exhibit 4 is a true and correct copy of the real estate contract between

        Ball and Williams, produced to Plaintiffs’ counsel on July 19, 2024.

    11. During the press conference, Ball also took the opportunity to denigrate the reputation

        and credibility of Plaintiffs and their counsel in advance of Plaintiffs’ filing, claiming she

        was speaking out so the public would receive the information “accurately.” This

        language, which was quoted verbatim by newscasters that night, falsely implied that

        Plaintiffs would be unfair and inaccurate in their public filing. Counsel for the City knew,

        however, that Plaintiffs sought to file Ball’s own entire deposition transcript, so the

        record would speak for itself.



 This is the 19th day of July 2024.

                                               /s/ Vanessa Baehr-Jones
                                               VANESSA BAEHR-JONES




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                                 CERTIFICATE OF SERVICE
 I HEREBY certify that a copy of the foregoing has been filed and served via the court's
 electronic filing system on July 19, 2024, to counsel of record:

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                                                     /s/ Vanessa Baehr-Jones
                                                     Vanessa Baehr-Jones



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